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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              CHARLESTON DIVISION

 B.P.J. by her next friend and mother, HEATHER
 JACKSON,

                             Plaintiff,

                       v.                               Civil Action No. 2:21-cv-00316

 WEST VIRGINIA STATE BOARD OF                           Hon. Joseph R. Goodwin
 EDUCATION, HARRISON COUNTY BOARD
 OF EDUCATION, WEST VIRGINIA
 SECONDARY SCHOOL ACTIVITIES
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent, DORA
 STUTLER in her official capacity as Harrison
 County Superintendent, and THE STATE OF
 WEST VIRGINIA,

                             Defendants,

                       and

 LAINEY ARMISTEAD,

                             Defendant-Intervenor.


      PLAINTIFF’S MOTION IN LIMINE TO EXCLUDE EVIDENCE AND/OR
    ARGUMENT REGARDING DEFENDANT-INTERVENOR’S REQUESTS FOR
   ADMISSION NOS. 13–61 CONCERNING HYPOTHETICAL INDIVIDUALS AND
                  SUPPORTING MEMORANDUM OF LAW

       Plaintiff B.P.J., by and through her next friend and mother, Heather Jackson, hereby moves

this Court to exclude any testimony or the introduction of any evidence, arguments, and/or

opinions regarding Defendant-Intervenor’s Requests for Admission Numbers 13–61 concerning

hypothetical individuals (Dkt. No. 355-1 (Armistead First Set of Requests for Admission to Pl.)

¶¶ 13–61) as irrelevant and unduly prejudicial under Federal Rules of Evidence 401, 402, and 403.




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                                           ARGUMENT

        For evidence to be relevant, it must “ha[ve] a tendency to make a fact more or less probable

than it would be without the evidence” and be “of consequence in determining the action.” Fed. R.

Evid. 401. Irrelevant evidence is not admissible and should be excluded. Fed. R. Evid. 402. And

even when evidence is relevant, if its probative value is substantially outweighed by the danger of

“unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or

needlessly presenting cumulative evidence,” that evidence should be excluded. Fed. R. Evid. 403.

        Defendant-Intervenor Lainey Armistead’s Requests for Admission Numbers 13–61

concerning hypothetical individuals should be excluded at trial. These nearly fifty Requests for

Admission sought responses to hypothetical questions regarding the treatment of various endocrine

conditions not at issue in this case and/or that had not yet been (and in many cases, have not been)

the subject of expert testimony. (Dkt. No. 354 (Mot. for Recon. Intervention) at 9, 9 n.6 (citing

Dkt. No. 355-1 (Armistead First Set of Requests for Admission to Pl.) ¶¶ 13–61).) These Requests

for Admission, which did not seek “admissions for the record of facts already known,” Wigler v.

Elec. Data Sys. Corp., 108 F.R.D. 204, 206 (D. Md. 1985), instead sought admissions about

hypothetical individuals and conditions that have no bearing on any issue before this Court, do not

speak to any condition or treatment related to B.P.J., and will only serve to confuse the trier of fact

and cause undue delay at trial.1 Fed. R. Evid. 401–03.

        This case concerns a twelve-year-old middle school girl who is receiving puberty-delaying

medication. (Dkt. No. 290 (Pl.’s SUF) ¶¶ 13–17.) Statements related to whether, for instance, “high



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  See, e.g., Dkt. No. 355-1 (Armistead First Set of Requests for Admission to Pl.) ¶¶ 18 (“Admit
there are biological males who experience hypogonadism.”), 19 (“Admit there are biological males
with medical conditions that inhibit testosterone production.”), 23 (“Admit that there are high-
school-aged biological males who, because of hypogonadism, have circulating testosterone
comparable to that of biological females of their same age.”).
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school male-identifying biological males who experienced endogenous male puberty but have

since received hormone therapy sufficient to bring their circulating testosterone down into the

range typical for biological females of their same age,” (Dkt. No. 355-1 (Armistead First Set of

Requests for Admission to Pl.) ¶ 41), have nothing to do with B.P.J.’s gender identity, medical

history, or treatment. Nearly fifty similarly irrelevant requests were made by Defendant-

Intervenor, all of which should be excluded at trial. (See Dkt. No. 355-1 (Armistead First Set of

Requests for Admission to Pl.) ¶¶ 13–61).)

       If not excluded at trial, the evidence would introduce “the very substantial dangers of

misleading the jury and confusing the issues.” Dimock v. Ethicon, Inc., No. 12 Civ. 401, 2016 WL

11524466, at *1 (S.D.W. Va. Nov. 29, 2016) (court to exclude evidence where “[a]ny kernel of

relevance is outweighed by the very substantial dangers of misleading the jury and confusing the

issues”) (Goodwin, J.) (internal quotations and citation omitted); Watkins v. Cook Inc., No. 13 Civ.

20370, 2015 WL 1395638, at *2–4 (S.D.W. Va. Mar. 25, 2015) (excluding evidence which would

have posed “substantial risks of misleading the jury and wasting judicial resources by diving into

[topics] . . . none of which relate to the . . . claims at issue”) (Goodwin, J.). Accordingly, all

evidence and testimony relating to Defendant-Intervenor’s Requests for Admission Numbers 13–

61 should be excluded.




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                                       CONCLUSION

       Plaintiff therefore respectfully requests that the Court preclude Defendants from offering

any evidence, argument, or opinions regarding Defendant-Intervenor’s Requests for Admission

Numbers 13–61 concerning hypothetical individuals. (Dkt. No. 355-1 (Armistead First Set of

Requests for Admission to Pl.) ¶¶ 13–61.)




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Dated: June 22, 2022                        Respectfully submitted,
                                            /s/ Loree Stark
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 WEST VIRGINIA,

                             Defendants,

                       and

 LAINEY ARMISTEAD,

                             Defendant-Intervenor.


                                CERTIFICATE OF SERVICE

       I, Loree Stark, do hereby certify that on this 22nd day of June, 2022, I electronically filed

a true and exact copy of Plaintiff’s Motion In Limine to Exclude Evidence and/or Argument

Regarding Defendant-Intervenor’s Requests for Admission Nos. 13–61 Concerning

Hypothetical Individuals and Supporting Memorandum of Law with the Clerk of Court and all

parties using the CM/ECF System.

                                                    /s/ Loree Stark
                                                    Loree Stark
                                                    West Virginia Bar No. 12936


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